  4:23-cr-03052-JMG-CRZ Doc # 149 Filed: 11/08/23 Page 1 of 2 - Page ID # 962




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,

       vs.                                                         4:23CR3052

VINCENT J. PALERMO, a/k/a "Vinny"                          NOTICE OF APPEARANCE
JOHNNY PALERMO, and
RICHARD GONZALEZ, a/k/a "Richie",

                      Defendants.


       Sean P. Lynch, hereby enters his appearance as Assistant United States Attorney on

behalf of the United States in the above-captioned case.

       Please direct all future pleadings and correspondence to the undersigned.


                                             UNITED STATES OF AMERICA, Plaintiff

                                             Sincerely,



                                             SUSAN LEHR
                                             Acting United States Attorney
                                             District of Nebraska




                                     By:     s/ Sean P. Lynch
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                                             Assistant U.S. Attorney
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    4:23-cr-03052-JMG-CRZ Doc # 149 Filed: 11/08/23 Page 2 of 2 - Page ID # 963




                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 8, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to all registered
participants.


                                             s/ Sean P. Lynch
                                             Assistant U.S. Attorney




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